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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

UNITED STATES COMMODITY                                 §
FUTURES TRADING COMMISSION,                             §
                                                        §
                     Plaintiff,                         §
                                                        §
v.                                                      §           Civil Action No. A-12-CV-0862-LY
                                                        §
SENEN POUSA, INVESTMENT                                 §
INTELLIGENCE CORPORATION,                               §
DBA PROPHETMAX MANAGED FX,                              §
JOEL FRIANT, MICHAEL DILLARD, and                       §
ELEVATION GROUP, INC.,                                  §
                                                        §
                     Defendants.                        §

                                       RECEIVER’S STATUS REPORT

        Guy M. Hohmann, the Court-appointed Receiver in this action (“Receiver”), respectfully

files this report to inform the Court of developments in the above-captioned matter.

        Since the Receiver’s update dated January 31, 2018, the Receiver has continued his efforts

to repatriate the funds owed by IB Capital and its principals Emad Echadi and Michel Geurkink

(collectively, the “IB Capital Defendants”) pursuant to the judgment entered on October 14, 2016

in the related case captioned U.S. Commodity Futures Trading Commission v. IB Capital FX, LLC

(a/k/a IB Capital FX (NZ) LLP) d/b/a IB Capital, Michel Geurkink, and Emad Echadi that was

pending before this Court. See Consent Order for Permanent Injunction, Civil Monetary Penalty

and Other Equitable Relief Against Michel Geurkink, Emad Echadi and IB Capital FX, LLC

(“Consent Order”) [Doc. 24] and Final Judgment [Doc. 25]. 1



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 U.S. Commodity Futures Trading Commission v. IB Capital FX, LLC (a/k/a IB Capital FX (NZ) LLP) d/b/a IB
Capital, Michel Geurkink, and Emad Echadi, United States District Court for the Western District of Texas, Austin,
Case No. 1:15-cv-01022-LY.
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        Based upon communications with representatives of the CFTC and with the Receiver’s

Dutch counsel, the Receiver has recently learned that Defendants Echadi and Geurkink have

entered guilty pleas in the criminal proceedings in Amsterdam. It is his understanding that, as part

of their pleas, Defendants Echadi and Geurkink will relinquish any claims to funds previously held

under the name of IB Capital. In addition, the Receiver has been informed that Defendant Echadi

utilized funds once in the possession of IB Capital to purchase two pieces of improved real estate

located in Morocco. One of those properties has been referred to as a “villa.” Defendant Echadi

has apparently agreed to relinquish any claims to the villa, but has not agreed to relinquish claims

to what is believed to be a smaller piece of improved real estate in Morocco. Lastly, the Receiver

has been informed that he and his Dutch counsel will be provided access to the Dutch prosecutor’s

file. The Receiver expects that to occur within the next week. His primary purpose in reviewing

the Dutch prosecutor’s file is to evaluate the viability of litigation against ING Bank, which opened

an account for IB Capital and from which the pilfered funds were wired to at least three other

financial institutions.

        The Receiver will continue to keep the Court apprised of these and any other major

developments in this matter in the coming months.



                                               Respectfully submitted,

                                               HOHMANN, BROPHY, SHELTON & WEISS, PLLC

                                               By: /s/ Carrie Puccia
                                                  Carrie Puccia
                                                  State Bar No. 24083691
                                                  carriep@hbslawyers.com
                                                  210 Barton Springs Road, Suite 500
                                                  Austin, Texas 78704
                                                  (512) 384-1331
                                                  (512) 532-6637 (Fax)
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                                              ATTORNEY FOR GUY M. HOHMANN
                                              IN HIS CAPACITY AS RECEIVER FOR
                                              THE PROPHETMAX RECEIVERSHIP
                                              ESTATE




                                CERTIFICATE OF SERVICE

        On March 2, 2018, I electronically submitted the foregoing document with the clerk of the
court of the U.S. District Court, Western District of Texas, using the electronic case filing system
of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                  /s/ Carrie Puccia
                                                  Carrie Puccia
